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                                                       CHAPTER 13 PLAN
                                                  United States Bankruptcy Court
                                                  Northern District of Mississippi

Debtor Hyde, Jeremy                                       SS # XXX-XX-7775               CASE NO. 1:14-bk-12552
Joint Debtor Hyde, Jeri                                   SS # XXX-XX-1430               Median Income [X] Above [ ] Below
Address 9055 Gavin Dr Olive Branch, MS 38654

THIS PLAN DOES NOT ALLOW CLAIMS. Creditors must file a proof of claim to be paid under any plan that may be
confirmed, The treatment of ALL secured and priority debts must be provided for in this plan.

PAYMENT AND LENGTH OF PLAN
The plan period shall be for a period of 60 months, not to be less than 36 months for below median income debtor(s), or less than 60
months for above median income debtor(s).

(A) Debtor shall pay $911.00 per ([x] monthly / [ ] semi-monthly / [ ] weekly / [ ] bi-weekly) to the chapter 13 trustee. Unless
    otherwise ordered by the Court, an Order directing payment shall be issued to Debtor's employer at the following address:

    Direct Pay

(B) Joint Debtor shall pay $0.00 per ([ ] monthly / [ ] semi-monthly / [ ] weekly / [ ] bi-weekly) to the chapter 13 trustee. Unless
    otherwise ordered by the Court, an Order directing payment shall be issued to Debtor's employer at the following address:

PRIORITY CREDITORS.
Filed claims which are not disallowed are to be paid in full or as ordered by the Court as follows:
Internal Revenue Service:                                 $            0.00 @ $           0.00 /month
Mississippi Dept. of Revenue:                             $            0.00 @ $           0.00 /month
Other:                                                    $            0.00 @ $           0.00 /month

DOMESTIC SUPPORT OBLIGATION. DUE TO:

POST PETITION OBLIGATION: In the amount of $                      per month beginning                 . To be paid: [ ] direct,
through payroll deduction, or [ ] through the plan.

PRE-PETITION ARREARAGE:

In the total amount of $             through                  which shall be paid in the amount of $                 per month
beginning                .To be paid    Direct,      through payroll deduction, or [ ] through the plan.

HOME MORTGAGES. All claims secured by real property which are to be paid through the plan shall be scheduled below.
Absent an objection by a party in interest, the plan will be amended consistent with the proof of claim filed herein, subject to the
start date for the continuing monthly mortgage payment proposed herein.

MTG PMTS TO: Wells Fargo Home Mortgage BEGINNING                      08/2014       @$ 1,268.03         [ ] PLAN [x] DIRECT

MTG ARREARS TO:                                               THROUGH                     $                @$               /MO

MORTGAGE CLAIMS TO BE PAID IN FULL OVER PLAN TERM:
Creditor: None Approx. amt. due: $ Int. Rate:
Property Address: Are related taxes and/or insurance escrowed Yes No

NON-MORTGAGE SECURED CLAIMS. Creditors that have filed claims that are not disallowed are to retain lien(s) pursuant to
11 U.S.C. 1325(a)(5)(B)(i)(I) until the payment of the debt determined as under non-bankruptcy law or discharge. Such creditors
shall be paid as secured claimants the sum set out below or pursuant to other order of the Court. The portion of the claim not paid as
secured shall be treated as a general unsecured claim.

                                                                  910*            Approx.                                   Pay Value or
Creditor's Name                    Collateral                     CLM           Amt. Owed            Value       Int Rate    Amt. Owed
Hyundai Motor Finance              2011 Hyundai Santa Fe          N              21,490.83       16,725.00         3.90%          value
Hyundai Motor Finance              2013 Hyundai Elantra Coupe     Y               22,797.29      17,425.00         3.90%      amt owed

Debtor's Initials JH Joint Debtor's Initials JH                                                  CHAPTER 13 PLAN, PAGE 1 OF 2
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*The column for “
                910 CLM”applies to both motor vehicles and “
                                                           any other thing of value”as used in the “
                                                                                                   hanging paragraph ”of 11
U.S.C. § 1325


SPECIAL CLAIMANTS. Including, but not limited to, co-signed debts, abandonment of collateral, direct payments by Debtor, etc.
For all abandoned collateral Debtor will pay $0.00 on secured portion of the debt. Where the proposal is for payment, creditor must
file a proof of claim to receive proposed payment.

                                                                      Approx.
Creditor's Name                Collateral                           Amt. Owed Proposal Treatment


STUDENT LOANS which are not subject to discharge pursuant to 11 U.S.C. §§ 523(a)(8) and 1328(c) are as follows (such debts
shall not be included in the general unsecured total):

                                                    Approx. Contractual Mo.
Creditor's Name                                   Amt. Owed            Pmt. Proposal Treatment


SPECIAL PROVISIONS which may apply to any or all payments to be paid through the plan, including, but not limited to,
adequate protection payments:

GENERAL UNSECURED CLAIMS totaling approximately $ 38,915.92. Such claims must be timely filed and not disallowed to
receive payment as follows:   IN FULL (100%), 12 % (PERCENT), with the Trustee to determine the percentage distribution.
Those general unsecured claims not timely filed shall be paid nothing, absent order of the Court.

Total Attorney Fee Charged $ 3,000.00
Attorney Fee Previously Paid $ 0.00
Attorney fee to be paid in plan $ 3,000.00

The payment of administrative costs and aforementioned attorney fees are to be paid pursuant to Court order and/or local rules.

Automobile Insurance Co/Agent                                      Attorney for Debtor (Name/Address/Phone/Email)
                                                                   Karen B Schneller, MSB 6558
                                                                   North Mississippi Bankruptcy Group
                                                                   126 North Spring Street
                                                                   P.O. Box 417
                                                                   Holly Springs, MS 38635
                                                                   Telephone/Fax (662) 252-3224/(662) 252-2858
Telephone/Fax:                                                     E-mail Address karen.schneller@gmail.com

DATE: July 14, 2014                 DEBTOR'S SIGNATURE             /s/ Jeremy Hyde
                              JOINT DEBTOR'S SIGNATURE             /s/ Jeri Hyde
                                 ATTORNEY'S SIGNATURE              /s/ Karen B Schneller




Debtor's Initials JH Joint Debtor's Initials JH                                               CHAPTER 13 PLAN, PAGE 2 OF 2
